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FILED
IN GCPEN COURT

IN THE UNITED STATES DISTRICT COURT FOR THE AUG 1 1 9n99
EASTERN DISTRICT OF VIRGINIA

Norfolk Division CLERK, US. DISTRICT COURT
NORFOLK, VA

UNITED STATES OF AMERICA Criminal No. 2:22-cr- IOS
18 U.S.C. § 371

Conspiracy

(Count 1)

YANG GAO,

(Counts 1-4) 18 U.S.C. §§ 1952(a)(3) and 2

Use of Facilities in Interstate Commerce
to Promote Prostitution

YE WANG,
(Counts 2)

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(Counts 1-4) )
)
and ) 18 U.S.C. § 1956(a)(1)
) Conspiracy to Commit Money Laundering
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SI LIU, (Count 3)

(Counts 1-3)
18 U.S.C. § 1951{a)

Interference with Commerce by Robbery
(Count 4)

Defendants.

18 U.S.C. §§ 924(d)(1), 981(a)(1)(C), and
982(a)(1); 28 U.S.C. § 2461(c)
Criminal Forfeiture ~

INDICTMENT

August 2022 TERM - at Norfolk

General Allegations

At all times relevant to this Indictment:

1. From in or about January 2021, and continuing up to and including May 4, 2022,
YANG GAO, YE WANG, and SI LIU worked as operators or managers of illicit, unregistered
massage parlors located in Virginia Beach and Williamsburg, which derived revenues from the
prostitution of female employees for money.

2. YANG GAO and SI LIU are married.
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3. Women of Asian ethnic descent were recruited online to work for YANG GAO,
YE WANG, and SI LIU. Female employees within the massage parlors performed sex acts for
4 ohns,” or customers, in exchange for cash payments. YANG GAO, YE WANG, and SI LIU
split the prostitution proceeds with the women engaged in prostitution. YANG GAO, YE
WANG, and SI LIU provided essential services, food and water for the women engaged in
prostitution, who called YANG GAO, YE WANG, and SI LIU bosses.

4, YANG GAO, YE WANG, and SI LIU traveled to the massage parlors located in
Virginia Beach and Williamsburg to collect prostitution proceeds. The women engaged in
prostitution at these massage parlors had no known local ties to the community and traveled with
the assistance of a larger enterprise based out of Flushing, New York.

5. Money was transferred to the New York-based enterprise through a large web of
individuals known and unknown to the grand jury through cash deliveries from the Eastern
District of Virginia to the Flushing, New York area and through electronic means through mobile
banking. Money is paid to the operators directly from the women working in the parlors and
from members of the larger enterprise in the form of checks and electronic transfers to the
operators.

6. YANG GAO and SI LIU would direct women working at the massage parlors and
others, including relatives, to make cash deposits into their own accounts or into third-party bank
accounts.

7. During the course of the conspiracy, GAO, WANG, and LIU maintained bulk
cash proceeds marked with the names or monikers of women paid to perform sex acts at the

massage parlors at their personal residences. It was further part of the conspiracy that GAO,
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WANG, and LIU deposited the cash into their own personal bank accounts and the accounts of
others known and unknown to the grand jury.

THE GRAND JURY CHARGES THAT:

COUNT ONE
(Conspiracy)

1. The General Allegations in paragraphs 1-7 above are incorporated herein.

2. Beginning in or about January 2021, and continuing up to and including May 4,
2022, the exact dates to the Grand Jury being unknown, within the Eastern District of Virginia,
the defendants, YANG GAO, YE WANG, and SI LIU, knowingly and willfully conspired and
agreed together and with each other, and with other persons known and unknown to the Grand
Jury, to commit an offense against the United States, that is, to travel in interstate and foreign
commerce and use facilities in interstate and foreign commerce to promote prostitution, in
violation of Title 18, United States Code, Sections 1952(a)(3) and 2.

Object of the Conspiracy

3. The object of the conspiracy was for YANG GAO, YE WANG, and SI LIU, and
others known and unknown to the Grand Jury, to obtain money for and preserve the financial
resources of the members of the conspiracy through the online advertisement, promotion, and
facilitation of prostitution in Virginia Beach and Williamsburg.

Ways, Manner and Means of the Conspiracy

4. During and in furtherance of this conspiracy and to effect the object of the
conspiracy, members of the conspiracy would and did play different roles. YANG GAO
managed the day-to-day operations of the parlors, including collecting money obtained via
prostitution. YANG GAO also provided transportation to women engaged in prostitution and

maintained the unlicensed massage parlors utilized for prostitution.
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5. YE WANG assisted GAO in the operation of the illicit prostitution business,
including transporting women engaged in prostitution, bringing supplies and maintaining the
massage parlors, and facilitating payments to women engaged in prostitution.

6. Both GAO and WANG engaged in violence during the course of the conspiracy.

7. SI LIU helped facilitate the operation of prostitution, collected proceeds from the
prostitution, managed the Internet advertising of the illicit massage parlors, and encouraged
women to perform sex acts by providing condoms and offering financial incentives. SI LIU also
controlled at least one prepaid “operator” number, (757) 712-9817, which was listed in online
prostitution advertisements on skipthegames.com and utilized to schedule prostitution
appointments. An operator number is a phone number used by the organization to schedule and
facilitate prostitution appointments. A prostitution customer called the operator, who directed the
customer to the location of the prostitution appointment.

6. During the course of the conspiracy, YANG GAO, YE WANG, and SI LIU
operated illicit spa locations at five locations: 4722 Princess Anne Road, Virginia Beach
(hereafter the “Princess Anne Road Spa”); 4966 Euclid Road, Unit 107, Virginia Beach
(hereafter the “Euclid Road Spa”); 4801 Shell Road, Virginia Beach (hereafter the “Shell Road
Spa”); 1309 Jamestown Road, Williamsburg (hereafter the “Jamestown Road Spa”); and 241
Southgate Avenue, Virginia Beach (hereafter the “Southgate Ave Spa”). The unlicensed

“business” names associated to these spa locations sometimes varied and changed throughout the

investigation.
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Overt Acts

1. On or about October 8, 2021, YANG GAO AND YE WANG robbed and
assaulted a woman engaged in prostitution, P.T., within GAO and WANG’s territory.

2. During the course of the conspiracy, SI LIU presented false identification
documents to the landlord and owner of the Shell Road Spa and signed notarized lease
agreements for the Shell Road Spa. SI LIU paid the lease for the Shell Road Spa each month by
check.

3. GAO, WANG and LIU caused prostitution advertisements to be posted on
skipthegames.com from approximately January 2021 through May 2022.

4. On multiple occasions, including on or about January 11, 2022, and January 13,
2022, SI LIU caused to be posted an online advertisement for prostitution on skipthegames.com
with a contact phone number of (757) 712-9817, belonging to the Shell Road Spa. The
skipthegames.com advertisement displayed images of scantily clothed Asian females in
provocative positions; and highlights services including, but not limited to; “Deep throat,” “Face
sitting,” “Oral — without condom (BBBJ).”

4. On January 13, 2022, a law enforcement officer working in an undercover
capacity, entered the Shell Road Spa. Once inside the law enforcement officer encountered an
Asian female, managed by LIU, GAO, and WANG, who solicited and agreed to perform oral sex

on the officer in exchange for $100.00.

5. On or about January 26, 2022, SI LIU made a payment at a T-Mobile store in

Virginia Beach toward the prepaid operator number (757) 712-9817.
6. On multiple occasions, including on or about February 4, 2022, SI LIU caused to

be posted an online advertisement for prositution on skipthegames.com which listed a contact
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phone number of (757) 515-6469, belonging to the Euclid Road Spa. The skipthegames.com
prostitution advertisement displayed images of scantily clothed Asian females in provocative

positions; and highlights services including, but not limited to; “Deep throat,” “Face sitting,”

“Oral — without condom (BBBJ).”

7. On February 4, 2022, a law enforcement officer working in an undercover
capacity entered the Euclid Road Spa. Once inside the officer encountered an Asian female,
managed by GAO, WANG, and LIU who solicited and agreed to perform oral sex on the officer
in exchange for $60.00.

8. On April 12, 2022, a law enforcement officer working in an undercover capacity
entered the Jamestown Road Spa. Once inside the officer encountered an Asian female,
managed by GAO, WANG, and LIU, who solicited and agreed to engage in genital-genital
intercourse in exchange for $150.00.

9. On April 29, 2022, a law enforcement officer working in an undercover capacity
entered the Princess Anne Road Spa. Once inside the officer encountered an Asian female,
managed by GAO, WANG, and LIU, who solicited and agreed to perform oral sex on the officer

in exchange for $150.00.

(In violation of Title 18, United States Code, Section 371.)
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COUNT TWO
(Use of Facilities in Interstate Commerce to Promote Prostitution)

THE GRAND JURY FURTHER CHARGES THAT:

From on or about January 11, 2022 through February 4, 2022, in the Eastern District of
Virginia and elsewhere, defendants YANG GAO, YE WANG, and SI LIU, did knowingly use
and cause to be used, a facility in interstate and foreign commerce, namely the Internet, with the
intent to promote, manage, establish, and carry on, and to facilitate the promotion, management,
establishment, and carrying on of an unlawful activity, that is Receiving Money from
Prostitution, in violation of Title 18.2 of the Code of the Commonwealth of Virginia, Section
357, and Aiding Prostitution, in violation of Title 18.2 of the Code of the Commonwealth of
Virginia, Section 348, and thereafter performed and attempted to perform an act to promote,
manage, establish, and carry on, and to facilitate the promotion, management, establishment, and

carrying on of such unlawful activity.
(In violation of Title 18, United States Code, Sections 1952(a)(3)(A) and (b)(i)(1).)
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COUNT THREE
(Conspiracy to Commit Money Laundering)

1. The factual allegations contained in the General Allegations section are
incorporated herein by reference as if set out in full. .

2. From Beginning in or about January 2021, and continuing up to and including
May 4, 2022, the exact dates to the Grand Jury being unknown, within the Eastern District of
Virginia and elsewhere, the defendants, YANG GAO, YE WANG, and SI LIU, did knowingly
combine, conspire, and agree with other persons known to the Grand Jury to commit an offense
against the United States in violation of Title 18, United States Code, Section 1956, to wit:

a. Laundering of monetary instruments, that is, to knowingly conduct and attempt to
conduct financial transactions affecting interstate and foreign commerce, which
transactions involved the proceeds of specified unlawful activity, that is, to use
facilities in interstate commerce to promote prostitution, in violation of Title 18,
United States Code, Sections 1952(a)(3) and 2, knowing that the transactions
were designed in whole and in part to conceal and disguise the nature, location,
source, ownership, and control of the proceeds of specified unlawful activity, and
that while conducting and attempting to conduct such financial transactions, and
knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, in violation of Title 18, United States

Code, Section 1956(a)(1)(B)Q@).

Object of the Conspiracy

3. The object of the conspiracy was for YANG GAO, YE WANG, and SI LIU and
others, known and unknown to the Grand Jury, to move and conceal the proceeds of a conspiracy

and to promote prostitution.
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Ways, Manner, and Means of the Conspiracy

4, It was part of the conspiracy that the defendants, YANG GAO, YE WANG, and
SI LIU, and others, known and unknown to the Grand Jury, collected and deposited a percentage
of profits obtained from using facilities in interstate and foreign commerce to promote
prostitution, in violation of Title 18, United States Code, Sections 1952(a)(3) and 2, into various
bank accounts, including accounts held at Navy Federal Credit Union (NFCU) and Bank of
America.

5. GAO has a joint deposit (NFCU-0185) account and savings (NFCU-6633)
account at NFCU with LIU. LIU has an individual deposit (NFCU-1794) and savings (NFCU-
3813) account at NFCU. GAO has an individual deposit account at Bank of America (BOA-
6730). WANG maintains a joint deposit account at J.P. Morgan Chase Bank (IPMC-6267) with
his wife and an individual deposit account (BoA-0973) at Bank of America.

6. The defendants routinely deposited proceeds of the specified unlawful activities
into the accounts.

Overt Acts

7. GAO, LIU and WANG made and caused to be made the following financial

transactions:

Date Amount Description

1/20/2021 $10,000 GAO deposited a $10,000 check into NFCU-6633.

1/21/2021 $20,000 GAO deposited a $20,000 cashier’s check into
NFCU-6633.

7/21/2021 $5,000 GAO deposited a $5,000 cash into NFCU-6633.

7/21/2021 $4,000 LIU deposited $4,000 cash into NFCU-3813.

2/8/22022 $5,000 GAO deposited $5,000 cash into NFCU-0185.

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3/2/2022 $4,000 GAO deposited a $4,000 check from WANG’s
account, BOA-0973, into NFCU-6633.

3/2/2022 $10,000 LIU deposited $10,000 cash into NFCU-3813.

2/28/2022 $5,000 WANG caused a $5,000 check to be deposited by

GAO into NFCU-6633.

2/28/2022 $3,000 WANG caused a $3,000 check to be deposited by
GAO from an account shared with his wife, T.C.,
JPMC-6267, into NFCU-6633.

(In violation of Title 18, United States Code, Sections 1956(a) and 1956(h)).

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COUNT FOUR
(Interference with Commerce by Robbery)

THE GRAND JURY FURTHER CHARGES THAT:

1. Prostitution is an inherently economic enterprise that affects interstate commerce.

2. On or about October 8, 2021, in the City of Virginia Beach, Virginia, in the
Eastern District of Virginia, the defendants, YANG GAO and YE WANG, aided and abetted by
each other, did knowingly and unlawfully obstruct, delay and affect, and attempt to obstruct,
delay and affect commerce as that term is defined in Title 18, United States Code, Section1951,
and the movement of articles and commodities in such commerce, by knowingly and willfully
committing robbery, as that term is defined in Title 18, United States Code, Section 1951, in that
YANG GAO and YE WANG, aided and abetted by each other, did unlawfully take and obtain
property consisting of United States currency, belonging to P.T., a female engaged in
prostitution, from the person of P.T. and against her will by means of actual and threatened force,
violence, and fear of injury, immediate and future, to her person.

(In violation of Title 18, United States Code, Sections 1951(a) and 2).

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FORFEITURE
THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT:

1. The defendants, if convicted of any of the violations alleged in Counts One, Two,
or Four of this indictment, shall forfeit to the United States, as part of the sentencing pursuant to
Federal Rule of Criminal Procedure 32.2, any property, real or personal, which constitutes or is
derived from proceeds traceable to the violation.

2. The defendants, if convicted of the violation alleged in Count Three of this
indictment, shall forfeit to the United States, as part of the sentencing pursuant to Federal Rule of
Criminal Procedure 32.2, any property, real or personal, involved in the violation, or any
property traceable to such property.

3. The defendants, if convicted of any of the violations alleged in this indictment,
shall forfeit to the United States, as part of the sentencing pursuant to Federal Rule of Criminal
Procedure 32.2, any firearm or ammunition involved in or used in the violation.

4. If any property that is subject to forfeiture above is not available, it is the intention
of the United States to seek an order forfeiting substitute assets pursuant to Title 21, United
States Code, Section 853(p) and Federal Rule of Criminal Procedure 32.2(e)

5. The property subject to forfeiture includes, but is not limited to, the following
property:

a. 4144 Archstone Drive, Virginia Beach, Virginia;

b. $32,000 seized from 4144 Archstone Drive, Virginia Beach, Virginia on or about
May 4, 2022;

c. A 2019 Infinity QX6 was seized from 4144 Archstone Drive, Virginia Beach,
Virginia on or about May 4, 2022;

d. 425 Brockwell Avenue, Norfolk, Virginia;

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e. $57,000 in U.S. Currency seized from 425 Brockwell Avenue, Norfolk, Virginia
on or about May 4, 2022;

f. A 2019 Toyota Sienna seized from 425 Brockwell Avenue, Norfolk, Virginia on
or about May 4, 2022;

g. A 2013 Lexus RX seized from 425 Brockwell Avenue, Norfolk, Virginia on or
about May 4, 2022;

h. A 2018 Subaru WRX STI seized from 425 Brockwell Avenue, Norfolk, Virginia
on or about May 4, 2022;

i. 1716 Stratton Drive, Virginia Beach, Virginia; and
j. Jewelry and a gold bar seized on or about May 4, 2022.

(In accordance with Title 18, United States Code, Sections 924(d)(1), 981(a)(1)(C), and
982(a)(1); and Title 28, United States Code, Section 2461(c).)

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United States v. Yang Gao, et al.,
Criminal No. 2:22cr |O4

JESSICA D. ABER
UNITED STATES ATTORNEY

py. MU Mactoyr

Megan M. Montoya

Assistant United States Attorney
Attorney for the United States
United States Attorney’s Office
101 West Main Street, Suite 8000
Norfolk, Virginia 23510

Office Number: (757) 441 -6331
Facsimile Number: (757) 441-6689

Email: megan.montoya@usdoj.gov

By: Dhte2 fle.

Matthew J. Heck

Assistant United States Attorney
Attorney for the United States
United States Attorney's Office
101 West Main Street, Suite 8000
Norfolk, Virginia 23510

Office Number - 757-441 -6331
Facsimile Number - 757-441-6689
Email: matthew. heck@usdoj.gov

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Pursuant to the E-Government Act,
the original of this page has been filed
under seal io the Clerk’s Office.
A TRUE BILL
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FOREPERSON
